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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,                    :       Criminal Case No. 1:18-cr-31
                                              :       Civil Case No. 1:24-cv-191
 vs.                                          :
                                              :       District Judge Timothy S. Black
 DEON SANDERS,                                :       Magistrate Judge Michael R. Merz
                                              :
        Defendant.                            :

            ORDER ADOPTING THE REPORT AND RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE

       This criminal case is before the Court on the Report and Recommendation of

United States Magistrate Judge Michael R. Merz. (Doc. 60). Specifically, Judge Merz

issued a Report and Recommendation on June 6, 2024, recommending that Defendant’s

motion to vacate pursuant to 28 U.S.C. § 2255 be dismissed with prejudice because the

motion is barred by the relevant statute of limitations. (Docs. 58, 60). Defendant did not

file objections to the Report and Recommendation, and the time for doing so has expired.

       Pursuant to 28 U.S.C. § 636(b), the Court has reviewed the comprehensive

findings of the Magistrate Judge and considered de novo all of the relevant filings in this

case. Upon consideration of the foregoing, the Court finds that the Report and

Recommendation (Doc. 60) should be and is hereby adopted in their entirety.

Accordingly:

       1.      The Report and Recommendation (Doc. 60) is ADOPTED;

       2.      Defendant’s motion to vacate pursuant to 28 U.S.C. § 2255 (Doc. 58)
               is barred by the relevant statute of limitation and is therefore DENIED
               with prejudice;
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     3.     The Clerk’s Office shall ensure that the accompanying civil action,
            Case No. 1:24-cv-191, is DISMISSED with prejudice and
            TERMINATED on the docket of this Court; and

     4.     The Court finds that any appeal would be objectively frivolous, and
            that jurists of reason would not disagree with the Court’s resolution
            of Defendant’s constitutional claims nor would jurists conclude that
            “the issues presented are adequate to deserve encouragement to
            proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 327 (2003).
            Accordingly, the Court DENIES the issuance of a certificate of
            appealability, pursuant to 28 U.S.C. § 2253(c).

     IT IS SO ORDERED.

Date: 6/25/2024                                              s/ Timothy S. Black
                                                         Timothy S. Black
                                                         United States District Judge




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